Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Pageiof45 Page ID#:3

EXHIBIT A
Case 2:17-cv-00379-SVW-JC Document 1-1

Filed 01/17/17 Page 2o0f45 Page ID #:4

 

SUMMONS —
FOR COURT USE ONLY
(CITACION JUDICIAL) 0 EO ATE
NOTICE TO DEFENDANT: | OIL
{AVISO AL. DEMANDADO): pu aunty areca Caltfomia
PETSMART, INC., a Delaware Corporation; and DOES 1-50, inclusive,
-NOV 2 9 2018

YOU ARE BEING SUED BY PLAINTIFF:

(LO ESTA DEMANDANDO EL DEMANDANTE):

LEA M. SMADJA, an individual, on behalf of herself and all others
similarly situated, and as aggrieved employees pursuant to the Private

a Carter, ¥ Ae OffloerOlerk

By! Deputy
Crating Griaita

Homey General Ad,

 

 

NOTICE! You have bean sued, The court may decide against you without your being heard untess you respond within 30 days, Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone calf will not protect you. Your written response must be in proper lagal form if you want the court to hear your
case. There may be a court form that you can use far your response. You can find these court forms and more information at the Callfomia Courts
Online Self-Help Center (www.courtinfo.ca.gow/selfhelp), your county law Hbrary, of the courthouse nearesl yau, #f you cannot pay the filing fee, ask
the court clerk fr a fee walver form. If you do not fle your response on time, you may lose the case by defauil, and your wages, money, and property
may be taken vathout further waming from the court.

There are other legal requirements. You may want to call an attomey right away. If you do not know an aitomey, you may want to call an attomey
referral service. If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can focate
these nonprofit groups at tha California Legal Services Web site (www. lawhelpcalifamia.org), the California Courts Online Self-Help Center
(www.courtinis.ce.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory fien for waived fees and
costs on any seillement or arbitration award of $16,000 or more in a civé case. The courl's fen must be paid before the court will dismiss the case,
jAVISOT 4 han demandade, Sino responde dentro de 30 dias, ta corte puade dacidir en su contra sin escuchar su yersién. Lea ta informacion a
continuacién.

Tiana 30 DIAS DE CALENDARIO después de que fe entreguen esta citacién y papeles legates para presenter una respuesta por escrito en esta
corte y hacer que se enlregue una copia al demandante, Una carta o una llamada lalefénica no fo protegen. Su respuesta por escrifa tiene que estar
en formato lege? correcto si desea que procesen su caso est la corte. Es posible que haya un formulario que usted pueda usar para su respuesta,
Puade encontrar estos formularios de ta corte y mas informacidn en ef Centro de Ayuda de jas Cortes de Callfomia (www.sucorte.ca.gov}, en fa
biblioteca de leyos de su condeds o en fa corte que la quede més cerca, Si no puede pagar fa cuota de presentacién, pida af sacretario oa la corte
que fe dé tn formulario da exencién de pago de cuolas, Si no presenta su respuesta a tiempo, puede perder el caso par Incumplimianta y la corte fe
podré quitar su sueldo, dinero y bienes sin mas edvertencia.

Hay olros requisitos legates. Es recomendabie que flame a un abogedo inmecietamente. Si no conoce a un abogado, puede ilamar a un servicio de
remisién a ebogados. Si no puede pagar a un abogado, es posible que cumpla con fos requisitos pare oblener servicios legales gratuites de un
programa de servicios legaias sin fines de lucro, Puede encontrar estos grupos sin fines de lucro an el sitio web de Califomila Legal Services,
(www.lawhelpcalifomia.org), en ef Centro de Ayuda de las Cortes de Califomia, (www.sucoria.ca.gov) 0 poniéndose en contacto con fa corte o ef
colegio da abogados locales, AVISO: Por ley, la corte tiene derecho a reclamer las cuotas y los costos exentos por imponer un gravamen sobre
cualquier racuperacién de $10,000 6 mas de valor reqibida mediante un acuerdo a una concesion de arbitreje en un caso de darecho civil. Tene que
pagar ef gravamen de la Corts antes de que la corte pudda desechar e] caso.

 

 

 

CASE NUMBER:

men BUG 42085

The name and address of the court is: .
(El nombre y direcci6n de fa corte es): Los Angeles Superior Court

 

 

 

Stanley Mosk Courthouse-Central District

111 North Hill Street, Los Angeles, CA 90012
The name, address, and telephone number of plaintiff's attomey, or plaintiff without an atlomey, is:
(EI nombre, fa direcci6n y el ndmero de teiéfono def abogado def demandante, a del demandante que no tiene abogado, es):
Ophir J, Bitton; Bitton & Associates; 7220 Melrose Ave., 2nd Floor, Los Angeles,

DATE: SHERRUR.CARTER © Clerk, by
(Fecha) NOY 2 § 2016 (Secretario)
(For proof of service of this summons, use Proof of Service of Summons fform POS-010)) UK
(Para prueba de entroga de esta cilatin use ef formulario Proof of Service of Summons, (FOS-010)),
NOTICE TO. THE PERSON SERVED: You are served

1. (CJ as an individual defendant.

2. [-_] as the person sued under the fictitious name of (specify):

 
  

 

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4, (J on behat of (speci):

under. [} CCP 446.10 (corporation) CCP 416.60 (minor)
(] CCP 416.20 (definel comoration) {__] CCP 416.70 (conservatee)
[__] CCP 416.40 (association or partnership) [] CCP 416.90 (authorized person)

 

 

 

 

 

 

 

["} other (specify):
4, ["] by personal delivery on (date):
Page t of 4
joke Counc SUMMONS Code of Civil Procedure $6 412.20, 465
SUM-100 [Rov. July +, 2003) wm. cpertinte.ca, p07

EXHIBIT A, PAGE 9

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 3 0f 45. Page. ID 2:5

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OPHIR J. BITTON SBN: 204310 anal
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CESAR G. LACHICA, JR. SBN 266634 Mw

BITTON & ASSOCIATES nn

7220 Melrose Avenue, 2 Floor

Los Angeles, CA 90046 Superior Gaurt of Calltomla
Tel. No.: (310) 356-1006 Counly of Los Angeles
Fax No.: (818) 524-1224 . NOV 2 9 2016

Attorneys for: . Sheri R. Carter, Exerulive OtfioentCierk.
By
Plaintiff, LEA M. SMADJA, on behalf | “ae seelen Do

of herself and all others similarly

situated D3 07

SUPERIOR COURT a Ne Mo RNTA
COUNTY OF LOS ANGELES -CENTRAL DISTRICT
[UNLIMITED JURISDICTION] BC6 42085

LEA M. SMADJA, an individual, on behalf ) Case No.: SER
of herself and all others similarly situated,
and as aggrieved employees pursvant to the
Private Attorney General Act,

CLASS ACTION COMPLAINT

(1) FAILURE TO PAY PROPER
OVERTIME;

2) FAILURE TO PROVIDE
AND/OR PAY SICK LEAVE;

(3) FAILURE TO PROVIDE MEAL
BREAKS;

(4) FAILURE TO PROVIDE REST
PERIODS;

(5) UNPAID WAGES-OWED
MONEY EARNED AND
VACATION;

(©) FAILURE TO PROVIDE
ACCURATE ITEMIZED WAGE

Plaintiffs,
VS.

PETSMART, INC., a Delaware Corporation;
and DOES 1-50, inclusive,

Defendants,

 

STATEMENTS (LABOR CODE
§226); nee
(7) FAILURETOPROVIDE 3m
ACCURATE ITE WAGED |
STATEMENTS (LAE ODER
§226.3); a
(8) UNLAWFUL witb iim

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OF WAGES;

(9) FAILURE TO FULLY
REIMBURSE WORK
EXPENSES;

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CLASS ACTION COMPLAINT -

EXHIBIT A, PAGE 10

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Case 2:17-cv-00379-SVW-JC_ Document 1-1. Filed 01/17/17 Page 4 0f 45 Page ID #:6

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(10) FAILURE TO PAY UNIFORM
MAINTENANCE

(11) WAITING TIME PENALTIES;

(12) PRIVATE ATTORNEY oO
GENERAL ACT (LABOR CODE

---§2699, ET SEQ.); AND

(13) UNFAIR BUSINESS PRACTICES

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“lland

 

 

[DEMAND FOR JURY TRIAL]

Plaintiff LEA M. SMADJA (“PLAINTIFF”), an individual on behalf of herself and all
others similarly situated, hereby files this Complaint against Defendant PETSMART, INC,, a
Delaware corporation (“DEFENDANT”); and DOES 1 to 25. PLAINTIFF is informed and
believes, and on the basis of that information and belief, alleges as follows:

1. INTRODUCTION |

 

1, This is a class action pursuant to Code of Civil Procedure §382.

2. This is a civil action seeking recovery for DEFENDANT’s violations of
California Labor Code (“Labor Code”) §§1194, et seq., Labor Code §§200, et seq., Labor Code
§§500, et seq., Labor Code §2802, Labor Code §§2698, et seq., California Business and
Professions Code (“B&PC”) §§17200, et seq., Fair Labor Standard Act, California, Federal, and
related common law principles.

3. PLAINTIFF’s action seeks monetary damages, including full restitution from
DEFENDANT as a result of DEFENDANT’s unlawful, fraudulent and/or unfair businesd
practices.

4. The acts complained of herein occurred, occur and will occur, at least in part,
within the time period from four (4) years preceding the filing of the original Complaint herein,
up to and through the time of trial for this matter.

RELEVANT JOB TITLES

5. The relevant job titles in this action are DEFENDANT’s Dog Groomer positions
(hereinafter including DEFENDANT’s job positions with substantially similar titles and duties)

CLASS ACTION COMPLAINT - 2

 

EXHIBIT A, PAGE 11 _

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document1-1 Filed 01/17/17 Page 5o0f45 Page ID#:7

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6. DEFENDANT’s Dog Groomer positions are paid by DEFENDANT on the basis
of hourly rates. :
7. The obligations and responsibilities of DEFENDANT’s Dog Groomer positions,

respectively, are virtually identical from region to region, district to district, facility to facility,
office to office, branch to branch, store to store, and employee to employee. Any differences in
job activities between the different individuals in these positions were and are legally
insignificant to the issues presented by this action.
SUMMARY OF CLAIMS
8. With regard to DEFENDANT’s Dog Groomer positions, DEFENDANT has:
a. Failed to pay proper and timely overtime;
b. Failed to provide/ pay sick leave;
cs. Failed to authorize and permit proper meal periods;
d. Failed to authorize and permit proper rest periods;
e. Failed to provide accurate itemized wage statements;
f, Failed to pay owed money earned and vacation;
g. Failed to pay uniform maintenance;
h. Failed to fully reimburse work expenses;
i. Unlawfully withheld wages;
j. Incurred waiting time penalties; and
k. Conducted unfair business practices.
II. PARTIES
PLAINTIFF .
9. Plaintiff LEA M. SMADJA (“PLAINTIFF”), is over eighteen (18) and is now
and/or at ali times mentioned in this Complaint was a resident of the State of California,

10. PLAINTIFF worked for DEFENDANT as a Dog Groomer at DEFENDANTS’

CLASS ACTION COMPLAINT - 3

 

EXHIBIT A, PAGE 12

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17. Page 6 of 45 Page ID #:8

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branch: located at Pico Boulevard in Los Angeles in Los Angeles County.'

DEFENDANTS

11. Defendant PETSMART, INC. (“DEFENDANT”) is now and/or at all tinies
mentioned in this Complaint, was a Delaware corporation and the owner and operator of ani
industry, business and/or facility licensed to do business and actually doing business in the State
of California. PLAINTIFF is informed and believes and on this basis alleges that DEFENDANT
is a nationwide pet retailer of services and solutions for the needs of pets in the United States and
maintains different branches and retail stores in California including Los Angeles County.

DOES 1 TO 50, INCLUSIVE

 

12. DOES 1 to 50, inclusive are now, and/or at all times mentioned in this Complaint
were licensed to do business and/or actually doing business in the State of California.
13. PLAINTIFF does not know the true names and capacities, whether individual
partner or corporate, of DOES 1 to 50, inclusive and for that reason DOES 1 to 50 are sued undey
such fictitious names pursuant to California Code of Civil Procedure (“CCP”) §474.
14. PLAINTIFF will seek leave of court to amend this Complaint to allege such]
names and capacities as soon as they are ascertained.
ALL DEFENDANTS
' 15. DEFENDANTS, and each of them, are now and/or at all times mentioned in thig
Complaint were in some manner legally responsible for the events, happenirig and circumstancey
alleged in this Complaint. | |
16. | DEFENDANTS, and each of them, proximately subjected PLAINTIF to the
unlawful practices, wrongs, complaints, injuries and/or damages alleged in this Complaint.
17. PLAINTIFF is informed and believes and thereon alleges that each
DEFENDANTS named in this Complaint (including DOES) was at all times herein mentioned

and now is the agent, servant and employee of the other defendants herein, and vice versa, and

 

1 Plaintiff held other titles during her tenure at PetSmart as well,

CLASS ACTION COMPLAINT - 4

 

EXHIBIT A, PAGE 13

 

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 7 of 45 Page ID #:9

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-||during all the liability periods relevant to this Complaint, accurate wages on account of

-|| PLAINTIFF’s inaccurate accounting and computation of regular time wages and overtime

 

 

was at all such times acting within the course and scope of said agency and employment and -
with the consent and permission of each of the other co-defendants, and each of the defendants
herein ratified each of the acts of each of the other co-defendants, and each of them.

18. DEFENDANTS, and each of them, are now and/or at all times mentioned in this
Complaint were members of and/or engaged in a joint venture, partnership and common
enterprise, and were acting within the course and scope of, and in pursuance of said joint
venture, partnership and common enterprise.

19. DEFENDANTS, and each of them, at all times mentioned in this Complaint
concurred and contributed to the various acts and omissions of each and every one of the other
DEFENDANTS in proximately causing the complaints, injuries and/or damages alleged in thig
Complaint.

20. DEFENDANTS, and each of them, at all times mentioned in this Complaint
approved of, condoned and/or otherwise ratified each and every one of the acts and/or omissions
alleged in this Complaint. |

21. | DEFENDANTS, and each of them, at all times mentioned in this Complaint aided
and abetted the acts and omissions of each and every one of the other DEFENDANTS thereby
proximately causing the damages alleged in this Complaint.

22. PLAINTIFF is informed and believes and thereon alleges that each and every act
and omission alleged herein was performed by, and/or attributable tc, all DEFENDANTS, each
acting as agents and/or employees, and/or under the direction and control of each of the other
DEFENDANTS, and that said acts and failures to act were within the course and scope of said
agency, employment and/or direction and control.

23. DEFENDANTS and each of them, proximately subjected PLAINTIFF to the
unlawful practices, wrongs, complaints, injuries and/or damages alleged in this Complaint.

COMMON FACTS

24, PLAINTIFF and other similarly situated employees have not been provided,

CLASS ACTION COMPLAINT - 5

 

EXHIBIT A, PAGE 14

 

 
Case 2:17-cv-00379-SVW-JC Document1-1 Filed 01/17/17 Page 8 of 45 Page ID #:10

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wages, improper meéal and rest periods, failed to pay or provide sick leave, and other labor cede
violations.

25. PLAINTIFF and other similarly situated employees have not been paid, during al]
the liability periods relevant to this Complaint, expenses for the maintenance of their uniforms
and other business related expenses incurred for the benefit of DEFENDANT.

26. DEFENDANT unlawfully withheld wages from PLAINTIFF and other similarly
situated employees.

27. DEFENDANT failed to timely pay all final wages upon termination o7
resignation of PLAINTIFF and others similarly situated.

28. As a direct and proximate result of the unlawful actions of DEFENDANT,
PLAINTIFF and other similarly situated employees have suffered and continue to suffer from
loss of earnings in amounts as yet unascertained, but subject to proof at trial in amounts in excess
of the jurisdiction of this Court.

If. JURISDICTION AND VENUE

29. The California Superior Court has jurisdiction in this matter due to
DEFENDANT’s violations of Labor Code §210, et seq., Labor Code §500, et seq., Labor Code
§1194, B&PC §17200, et seq., the applicable Wage Orders issued by the California Industrial
Welfare Commission (hereinafter, the “IWC Wage Orders”), and related common law principles.

30. The California Superior Court also has jurisdiction in this matter because both the
individual and aggregate monetary damages and restitution sought herein exceed the minimall
jurisdictional limits of the Superior Court and will be established at trial, according to proof.

31. The California Superior Court likewise has jurisdiction over all DEFENDANTS
because, based on information and belief, DEFENDANTS are ether citizens of California, have
sufficient minimum contacts in California, or otherwise intentionally avail themselves of the
California market so as to render the exercise of jurisdiction over them by the California Court
consistent with traditional notions of fair play and substantial justice.

32. Venue is proper in Los Angeles County pursuant to CCP §395(a) and CCP

$395.5 in that liability arose there because at least some of the transactions that are the subject

CLASS ACTION COMPLAINT - §

 

EXHIBIT A, PAGE 15

 

 
 

Case 2:17-cv-00379-SVW-JC_ Document 1-1 Filed 01/17/17, Page 9 of 45 Page ID #:11

"2 || matter of this Complaint occurred therein and/or each DEFENDANT either is found, maintains
2 | office, transacts business, and/or has an agent therein. |

3 33. Labor Code § 2699 et seq., PAGA, authorizes aggrieved employees to sue

4 || directly for various civil penalties under the Labor Code. PLAINTIFF timely provided notice ox]

5 jj June 28, 2016 and January 2], 2016 to the Labor and Workforce Development Agency

6 || (“LWDA”) and to DEFENDANT, pursuant to Labor Code §2699.3.

7 IV, CLASS ACTION ALLEGATIONS

 

8 34. CCP §382 provides in pertinent part: “...[W]hen the question is one of a commor, -
9 || or general interest, of many persons, or when the parties are numerous, and it is impracticable to
10 || bring them all before the court, one or more may sue or defend for the benefit of all.”
il 35. PLAINTIFF brings this suit as a class action pursuant to CCP §382, on behaif of
12 }| individuals who are entitled to the monies unlawfully withheld by DEFENDANT.

13 36. The putative classes PLAINTIFF will seek to certify are currently composed of
14 || and defined as follows:
15 a. All individuals employed and formerly employed by DEFENDANT in
16 California as 2 Dog Groomer during the appropriate time period whom
7 DEFENDANT failed to properly or timely pay overtime (hereinafter, the
18 “Overtime Class”); |
19 b. All individuals employed and formerly employed by DEFENDANT in
20 California as a Dog Groomer during the appropriate time period whom
21 DEFENDANT failed to pay or provide sick leave (hereinafter, the “Sick
22 Leave Class”); |
23 c, All individuals employed and formerly employed by DEFENDANTS in
24 Califomia as a Dog Groomer during the appropriate time period whom
25 DEFENDANTS failed to authorize and permit the legally requisite meal
26° periods (hereinafter, the “Meal Period Class”);
ay. d. All individuals employed and formerly employed by DEFENDANTS in
sae 2: California as a Dog Groomer during the appropriate time period whom
“ence CLASS ACTION COMPLAINT - ]

 

 

 

EXHIBIT A, PAGE 16

 

 

 

 
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Case 2:17-cv-00379-SVW-JC Documenti1-1 Filed 01/17/17 Page 10 0f 45 Page ID #:12

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. All individuals formerly employed by DEFENDANTS in California as Dog

 

 

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DEFENDANTS failed to authorize and permit the legally requisite test
periods (hereinafter, the “Rest Period Class”);

California as a Dog Groomer during the appropriate time period whom)
DEFENDANTS failed to provide accurate itemized wage statements undey|
Labor Code §226 (hereinafter, the “§226 Wage Statement Class),

California as a Dog Groomer during the appropriate time period whom
DEFENDANTS failed to provide accurate itemized wage statements undey
Labor Code §226.3 (hereinafter, the “§226.3 Wage Statement Class);

California as a Dog Groomer during the appropriate time period whom
DEFENDANTS failed to pay owed money earned and vacation (hereinafter,

the “Vacation Class);

California as a Dog Groomer during the appropriate time period whom
DEFENDANTS failed to pay uniform maintenance (hereinafter, the “Uniform
Class”); - .
All individuals employed and formerly employed by DEFENDANTS in
California as a Dog Groomer during the appropriate time period whom
DEFENDANTS failed to fully reimburse work expenses (hereinafter, the
“Reimbursement Class”);
All individuals employed and formerly employed by DEFENDANTS in
Califomia as a Dog Groomer during the appropriate time period whom
DEFENDANTS unlawfully withheld wages from (hereinafter, the “Withheld
Wage Class”);

Groomer during the appropriate time period whom DEFENDANT willfully

CLASS ACTION COMPLAINT ~ 8

 

EXHIBIT A, PAGE 17

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Case 2:17-cv-00379-SVW-JC Document1-1 Filed 01/17/17 Page 11 of 45 Page ID #:13

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failed to pay any and all wages (hereinafter, the “LC 201 Class”);

37. The “Overtime Class,” “Sick Leave Class,” “Meal Period Class,” “Rest Period
Class,” “§226 Wage Statement Class,” “§226.3 Wage Statement Class,” “Vacation Class,’
“(Jniform Class,” “Reimbursement Class,” “Withheld Class,” and “LC 201 Class” are hereinafter
collectively referred to as the “CLASSES.” |

38. Throughout discovery in this litigation, PLAINTIFF may find it appropriate
and/or necessary to amend the definition of the CLASSES. In any event, PLAINTIFF will
formally define and designate a class definition at such time when PLAINTIFF seeks to certify
the CLASSES alleged herein.

39,  Numerosity (CCP §382):

a, The potential quantity of members of the CLASSES as defined is so numerous
that joinder of all members is unfeasible and impractical. |

b. The disposition of the claims of the members if the CLASSES through this class
action will benefit both the parties and this Court.

c. The quantity of members of the CLASSES is unknown to PLAINTIFF at thi
time; however, it is estimated that the membership of the CLASSES numbe
greater than 500 individuals; ,

d. The quantity and identity of such membership is readily ascertainable via
inspection of DEFENDANTS’ records.

40. Superiority (CCP §382): The nature of this action and the nature of the laws

available to PLAINTIFF make the use of the class action format particularly efficient and the
appropriate procedure to afford relief to PLAINTIFF for the wrongs alleged herein, as follows:

a, California has a public policy which encourages the use of the class action device;

b. By establishing a technique whereby the claims of many individuals can be
resolved at the same time, the class suit both eliminates the possibility of
repetitious litigation and provides small claimants with a method of obtaining
redress for claims which would otherwise be too small to warrant individual

litigation;

CLASS ACTION COMPLAINT - . 9

 

EXHIBIT A, PAGE 18

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 12 of 45_ Page ID #:14

 

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. This case involves large corporate DEFENDANT and a large number of

. If each individual member of the CLASSES was required to file an individual

. Requiring each individual member of the Classes to pursue an individual remedy,

. Absent class treatment, the prosecution of separate actions by the individual

 

 

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individual Class members with many relatively small claims and common issued
of {aw and fact. The potential class is a significant number because NAMED
PLAINTIFF is informed and believe, and thereon allege, that DEFENDANT
employed at any one time, approximately over once thousand (1,000) hourly
employees in ali facilities, buildings, communities and retail centers, with a total
class estimated to be significantly over five hundred (500) employees in
California in the past four years ~ there are numerous former employees who were
subjected to the same illegal payroll practices or policies. Joinder of all formey

employees individually would be impractical;

lawsuit, the large corporate DEFENDANT would necessarily gain ay
unconscionable advantage because DEFENDANT would be able to exploit and
overwhelm the limited resources of each individual member of the CLASSES

with DEFENDANT’ vastly superior financial and legal resources;

would also discourage the assertion of lawful claims by the members of the
CLASSES who would be disinclined to pursue an action against DEFENDANT
because of an appreciable and justifiable fear of retaliation and permanent damage
to their lives, careers and well-being;
Proof of a common business practice or factual pattern, of which the members of
the CLASSES experienced, is representative of the CLASSES herein and wiil
establish the right of each of the members of the CLASSES to recover on the

causes of action alleged herein;

members of the CLASSES, even if possible, would likely create:
1. a substantial risk of each individual plaintiff presenting in separate,

duplicative proceedings the same or essentially similar arguments and

CLASS ACTION COMPLAINT ~ 16

 

EXHIBIT A, PAGE 19

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 13 0f 45 Page ID #:15

 

 

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evidence, including expert testimony; |

2. a multiplicity of trials conducted at enormous expense to both the judicial
system and the litigants;

3, inconsistent or varying verdicts or adjudications with respect to the individual
members of the CLASSES against DEFENDANT; and

4. potentially incompatible standards of conduct for DEFENDANT;

5. potentially incompatible legal determinations with respect to individual
members of the CLASSES which would, as a practical matter be dispositive
of the interest of the other members of the CLASSES who are not parties to
the adjudications or which would substantially impair or impede the ability of
the members of the CLASSES to protect their interests.

h. The claims of the individual members of the CLASSES are not sufficiently large
to warrant vigorous individual prosecution considering all of the concomitant
costs and expenses attendant thereto;

i. Courts seeking to preserve efficiency and other benefits of class actions routinely
fashion methods to manage any individual questions; and

j. The Supreme Court of California urges trial courts, which have an obligation to,
consider the use of innovative procedural tools to certify a manageable class, to be
procedurally innovative in managing class actions.

4].  Well-defined Community of Interest: PLAINTIFF also meet the established
standards for class certification (see, e.g. Lockheed Martin Corp. v, Superior Court (2003) 29
Cal.4" 1096), as fallows:
a. Typicality: The claims of PLAINTIFF is typical of the claims of all members of

the CLASSES she seeks to represent because all members of the CLASSES

sustained injuries and damages arising out of DEFENDANT’s common course of

conduct in violation of law and injuries and damages of all members of the

CLASSES were caused by DEFENDANT’s wrongful conduct in violation of law

as alleged herein.

CLASS ACTION COMPLAINT - 14

 

 

EXHIBIT A, PAGE 20.

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 140f45 Page ID #:16

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"i b. Adequacy: : PLAINTIFF:
2 i. is an adequate representative of the CLASSES she seeks to represent;
3 ii. will fairly protect the interests of the members of the CLASSES;
4 iii. has no interests antagonistic of the members of the CLASSES; and
5 iv. will vigorously pursue this suit via attorneys who are competent, skilled and
6 experienced in litigating matters of this type.
7 c. Predominant Common Questions of Law or Fact: There are common questions of
8 law and/or fact as to the members of the CLASSES which predominate ove
9 questions affecting only individual members of the CLASSES, including, vitou
10 limitation:
1 i. Whether DEFENDANT failed to properly pay overtime, in violation of the
12 Labor Code:
13 ii. Whether DEFENDANT failed to pay and/or provide sick leave, in violation of
14 the Healthy Workplaces, Healthy Families Act of 2014:
15 iii. Whether DEFENDANT failed and continue to fail to authorize and permit
16 | proper paid rest periods to the members of the Meal Period Class in violation of
17 the Labor Code and Section 11 of the WC Wage Orders:
18 |} iv. Whether DEFENDANT failed and continue to fail to authorize and permit
19° proper paid rest periods to the members of the Rest Period Class in violation of
20 ||. the Labor Code and Section 11 of the IWC Wage Orders:
21 v. Whether DEFENDANT failed to timely furnish accurate itemized statements to
22 ' the members of the Wage Statement Class;
23 vi. Whether DEFENDANT complied with wage reporting as required by Labor
24 Code §226(a) and §226.3;
25 vii. Whether DEFENDANT failed to pay owed money and earned vacation to
26; Vacation Class;
aT: viii. Whether DEFENDANT failed to pay uniform maintenance to Maintenance
enemdé &: Class; | ,
ee
— CLASS ACTION COMPLAINT - 12

 

 

 

EXHIBIT A, PAGE 21

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 15o0f45 Page ID#:17

 

 

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ix. Whether DEFENDANT failed to pay business expenses incurred by the
Business Expenses Class for the benefit of DEFENDANT;
x, Whether DEFENDANTS are liable pursuant to Labor Code §§202, and 203;
xi, Whether the members of the Classes are entitled to penalties pursuant to Labor |
Code §§2699, et seq.;
xii. Whether DEFENDANTS’ conduct constitutes unfair competition within the
meaning of B&PC §17200, et seq.;
xiii. Whether DEFENDANTS’ conduct constitutes unfair business practices within
the meaning of B&PC §17200, et seq.;
xiv. Whether the members of the Classes are entitled to injunctive relief;
xv, Whether the members of the Classes are entitled to restitution; and
xvi. Whether DEFENDANTS are liable for attorney’s fees and costs.
VV, STATEMENT. OF FACTS
42. | DEFENDANT has been providing retailer of services and solutions for the needs
of pets and has maintained branches and retail stores in the United States and throughout
California,
43, In or about 2014, PLAINTIFF was hired by DEFENDANT as a dog groomer att
their retail store branch in Pico Boulevard, Los Angeles, California.
44, PLAINTIFF and members of the CLASSES’ positions with DEFENDANTS are
non-exempt and are paid on an hourly basis, PLAINTIFF for her part was informed that her
hourly base pay was $10.50 (eventually increased to $13.00),
45, DEFENDANT paid PLAINTIFF and members of the CLASSES by a commission,
scheme depending on their weekly sales. For PLAINTIFF, on the basis of 50% when she started
and later 60%, For example, if PLAINTIFF’s sale for the week were below her hourly base foy
40 hours by week, PLAINTIFF weekly pay would be computed at $10.50 (eventually increased
to $13.00) per hour. Otherwise, her pay would be the equivalent of the commission rate (i.¢, 50%
or 60%) of her weekly sales. PLAINTIFF is informed and believes that the same scheme 1
applied to members of the CLASSES, at various percentages.

CLASS ACTION COMPLAINT - 13

 

EXHIBIT A, PAGE 22

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 16 of 45 _ Page ID #:18

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-|| spiffs, and bonuses. When not immediately computable, the additional computation should be

|| paid in the next payday after the employer can reasonably compute and arrange for payment of

 

 

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46, Furthermore, PLAINTIFF and members of the CLASSES’ compénsation:
structure, included non-discretionary commission/bonus pay or “stipend” which was based ofl
meeting team goals.
47. PLAINTIFF requested an accounting from DEFENDANT with regard to nel
commission, however, DEFENDANT failed to provide any such accounting.
48. | DEFENDANT’s “policy” is that its employees are not allowed to groom alone;
however, in violation of its own policy, DEFENDANT regularly scheduled employees alone to
proom and often scheduled too many dogs for proper spacing of time.
49. As such, although PLAINTIFF and members of the CLASSES were purportedly;
allowed to have their lunch breaks, their schedules often only allowed them to have their lunch
breaks beyond the 5" hour. Moreso, because of the over-scheduling by DEFENDANT,
PLAINTIFF and members of the CLASSES were often not allowed to take any 10-minute rest
periods for every four hours of work.
50. For periods wherein PLAINTIFF and members of the CLASSES were deprived
of their mandated rest and meal periods, they are entitled to rest and meal period compensation
which is an additional 1 hour of pay respectively for each day in which a rest and/or meal break
was not provided. The extra 1 hour pay of wages must be included in the regular rate of
compensation, In addition, this additional pay must be used in computing the regular rate of pay.
51, For the hours worked in excess of 40 hours per week and/or over 8 hours in a day
during the relevant period of time, DEFENDANTS purported to pay Plaintiff and members of
the CLASSES overtime for hours worked in excess of 40 hours per week, however,
DEFENDANTS failed to timely pay time and one-half of employees’ regular rate of pay, and
instead timely paid only time and one-half of employees’ hourly wages without account for
extras,
§2,  Incontrast to DEFENDANTS’ practices, relevant law requires DEFENDANTS to

timely pay overtime compensation derived from hourly wages and applicable commissions,

CLASS ACTION COMPLAINT - 14

 

EXHIBIT A, PAGE 23

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Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 17 of 45 Page ID #:19

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-|| Agency (“DOL”) of DEFENDANTS’ violation. Thirty-three days has passed since PLAINTIFF
-|linformed DOL. Thus PLAINTIFF has satisfied and/or exhausted any and all preconditions to

 

 

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the additional compensation. DEFENDANTS also failed to factor in the meal breaks and rest
period compensation in the computation of overtime pay Plaintiff and members of the

CLASSES.
53. Also, PLAINTIFF and members of the CLASSES were expected to buy and use
their own grooming tools for work done for DEFENDANT. These included power tools and

non-power tools.

54, Although PLAINTIFF and members of the CLASSES were given $150.00
periodically to shear and sharpen their tools, at times the amount was not sufficient to cover the
cost of shearing and sharpening the tools. PLAINTIFF and members of the CLASSES were not
reimbursed for the items they bought nor the excesses they paid for shearing or sharpening tools.

55. Moreover, though they were a job necessity, PLAINTIFF and members of the
CLASSES were not given proper “fair rental value” for the use of these tools. In many pay
periods. PLAINTIFF and members of the CLASSES did not eam at least double the minimum

wage which is a requirement when employees use their own tools.

56. Furthermore, DEFENDANT required its employees to wear a smock while

performing their duties on behalf of DEFENDANT. Although DEFENDANT provided the
smock, DEFENDANT did not pay for the cleaning and maintenance of the smock.
57, PLAINTIFF is informed and believes that those conditions existed at other
DEFENDANT’s retail stores and/or branches.
57. At the time of PLAINTIFF’s termination, DEFENDANTS failed to pay,
PLAINTIFF sick leave and accrued unused vacation time. Moreover, she and those similarly

situated were not paid break penalties and properly computed overtime pay. PLAINTIFF ig

informed and believes that the same conditions also existed for those who resigned or been

terminated from DEFENDANT’s employment.
58. Having been injured by DEFENDANTS, PLAINTIFF, on her behalf and on
behalf of those similarly situated informed the Department of Labor & Workforce Development

CLASS ACTION COMPLAINT - 15

 

 

EXHIBIT A, PAGE 24

 

 

 
 

Case 2:17-cv-00379-SVW-JC_ Document 1-1 Filed 01/17/17 Page 18 of 45 Page ID #:20

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-{| including overtime compensation and interest thereon, together with the cost of suit. Moreover,

-\| the Fair Labor Standards Act provides liquidated damages in the amount of all overtime not paid

 

 

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bringing this action as required by California Labor Code § 2699, et seg., and is entitled to

penalties, interests, and attorneys’ fees provided for under the Private Attorney General Act

 

(“PAGA”).
Vil. CAUSES OF ACTION
FIRST CAUSE OF ACTION
(FAILURE TO PAY PROPER AND TIMELY OVERTIME)
PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS
59. PLAINTIFF and members of the CLASSES hereby refer to and incorporate
paragraphs 1 through 58, inclusive, of this Complaint by reference, as though fully set forth

herein. ©

60. Labor Code §510, provides that an employee must be paid overtime after working
eight (8) hours in a day and forty (40) hours in a week. Overtime must be paid at one-and-a-half
times the regular rate of pay after eight hours in a day and forty hours in a week. The overtime
rate becomes two times the regular rate of pay for hours over twelve in a day, or over eight hours
on the seventh consecutive day worked.

61. The “regular rate of pay” is comprised of more than just the employee’s hourly;
rate of pay it includes many different kinds of monetary remuneration an employee earns for his
labor, including commissions, spiffs, and bonuses. (29 U.S.C. 207(e).) Employers must include
these nondiscretionary bonuses and incentive pay (e.g. stipend) along with other earnings to
determine an employee’s regular rate on which overtime pay is computed each pay period.

62. A bonus is “nondiscretionary” if the employer makes a promise to pay it based on
the requirements being met. This includes bonuses designed to induce the employees to work
more steadily, more rapidly or more efficiently, to remain with the employer, to meet attendance
goals, individual or group production bonuses and bonuses for quality and accuracy of work. (29
C.F.R, 778.211(c).) This also includes spiffs, and incentive pay for special skills.

63. Labor Code § 1194 also establishes an employees’ right to recover unpaid wages,

CLASS ACTION COMPLAINT - 16

 

EXHIBIT A, PAGE 25

 

 

 
Case 2:17-cv-00379-SVW-JC_ Document 1-1 Filed 01/17/17, Page 19 of 45 Page ID #21

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in addition to the overtime pay.

64. Further, Labor Code § 226.7, subdivision (a) provides, “No employer shal
require any employee to work during any meal or rest period mandated by an applicable order 4
the Industrial Welfare Commission.” Also Labor Code §226.7 (b) further provides that, “If an
employer fails to provide an employee a meal period or rest period in accordance with an
applicable order of the Industrial Welfare Commission, the employer shall pay the employee one
additional hour of pay at the employee's regular rate of compensation for each work day that the
meal or rest period is not provided.”

65. Thus, the “additional hour of pay” is a premium wage intended to compensate
employees and should be included in the computation of overtime.

66.  Moreso, the relevant provisions of Labor Code §204 requires that “[aJli wages . . |
eared” are “due and payable” at least twice each calendar month. Payment of all wages earned
in a pay period is due within a specified number of days after the end of the period. “In other
words, all earned wages, including commissions, must be paid no less frequently than semi-
monthly,” or at least twice each month.

67. At all times herein mentioned, PLAINTIFF and members of the CLASSES were
non-exempt employees of DEFENDANT.

68. At all times herein mentioned, PLAINTIFF and members of the CLASSES
regularly worked overtime during the entire time of their employment.

69. | DEFENDANT also did not provide PLAINTIFF and members of the CLASSES
with proper meal and rest breaks. -

70. PLAINTIFF and members of the CLASSES’ hourly rates at all times relevant
should have to be determined by a detailed accounting of their non-discretionary,
commission/bonus pay, spiffs, or “incentive” pay (e.g. stipend) including their meal and rest
period compensation. .

71.  Inany pay period in which a commission has been earned DEFENDANT was and
is required to recalculate the rate of pay upon which overtime for that pay period is calculated]

This may be accomplished by adding together all compensation eared for the workweek and

CLASS ACTION COMPLAINT - Li

 

EXHIBIT A, PAGE 26

 

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 200f45 Page ID#:22 |

1 |I chen dividing the compensation by the number of regular time hours worked. This would provide}

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2 || a revised hourly rate upon which overtime may be calculated.

3 72, In instances when DEFENDANT did pay overtime to PLAINTIEF and members
4 |l of the CLASSES, DEFENDANT timely paid only 1.5 times their hourly wage, but failed to
5 |Itimely and properly pay 1.5 times their regular rate of pay taking into account non-discretionary
6 |lcommission/bonus pay, spiffs, or “incentive* pay including the meal and rest period
7 || compensation in calculating the overtime pay of PLAINTIFF and members of the CLASSES.
8 73. By failing to properly and timely compensate PLAINTIFF and members of the
9 || CLASSES for wages eamed, DEFENDANT acted maliciously, fraudulently, oppressively, and
10 | despicably, with wrongful intention causing injury and hardship to PLAINTIFF and members of
11 {lthe CLASSES by reaping economic gain at PLAINTIFF and members of the CLASSES’
12 |] expense, in willful and conscious distegard of PLAINTIFF and members of the CLASSES’
13 || statutory and regulatory right to right to receive lawful wages,
14 74. Asaresuit of the unlawful acts of DEFENDANT, PLAINTIFF and members of
15 Ilthe CLASSES have been deprived of wages and overtime and double time premium pay in
16 || amounts to be proven at trial, and PLAINTIFF and members of the CLASSES are entitled to
17 |lrecovery of such amounts from DEFENDANT, plus interest, penalties and attorney’s fees and

18 || costs, Also, under the Fair Labor Standards Act (“FLSA”) PLAINTIFF is entitled as liquidated

 

19 || damages.

20 ; SECOND CAUSE OF ACTION

21 (FAILURE TO PROVIDE AND/OR PAY SICK LEAVE)

22 PLAINTIFF Against All DEFENDANTS

23 75, PLAINTIFF and members of the CLASSES hereby refer to and incorporate

24 || paragraphs 1 through 74, inclusive, of this Complaint by reference, as though fully set forth
25 || herein.
" 26: 76. Under the Healthy Workplaces, Healthy Families Act of 2014, an employee who
29. works for 30 or more days within a year is entitled to paid sick days of 24 hours or 3 days in each

us 2b year of employment.

 

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EXHIBIT A, PAGE 27

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 210f 45 Page ID #:23

 

 

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-|| employee for a work period of more than 10 hours per day without providing the employee with

 

 

77. For violation of this Act, the penalty to the employer is the dollar amount of paid
sick days withheld from the employee multiplied by three, or two hundred fifty dollars
($250.00), which ever amount is greater, but not to exceed an aggregate penalty of four thousand
dollars ($4,000.00).

78. At all times herein mentioned, PLAINTIFF and members of the CLASSES were
non-exempt employees of DEFENDANT.

79. At all times herein mentioned, PLAINTIFF and members of the CLASSES at
times called in sick during their employment.

80. For those days that PLAINTIFF and members of the CLASSES called in sick]
DEFENDANT did not regularly pay PLAINTIFF and members of the CLASSES sick leave .
mandated by law. In fact, DEFENDANT informed PLAINTIFF and members of the CLASSES
that they do not get sick time off.

81. Asa result of DEFENDANT’s abovementioned unlawful act, PLAINTIFF and
members of the CLASSES suffered injury and damage.

82. As such, DEFENDANT is liable to PLAINTIFF and members of the CLASSES
for the dollar amount of the sick days multiplied it by three plus interest in the amount to be
proven at trial,

THIRD CAUSE OF ACTION
(FAILURE TO PROVIDE MEAL BREAKS)
PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS

83. PLAINTIFF and members of the CLASSES hereby refer to and incorporate
paragraphs 1 through 82, inclusive, of this Complaint by reference, as though fully set forth
herein.

84. Labor Code §512(a) provides that employees who work more than five hours in al
day are entitled to a meal period of at least 30 minutes; and a second meal period of at least 30
minutes if they work for more than 10 hours in a day. ,

85. Labor Code §512 further provides that “An employer may not employ an

CLASS ACTION COMPLAINT - 19

 

EXHIBIT A, PAGE 28

 

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 22 of 45 Page ID #:24 |

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-|) scheduled too many dogs in violation of its own policy.

 

 

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a second meal period of not less than 30 minutes, except that if the total hours worked is no more
than 12 hours, the second meal period may be waived by mutual consent of the employer and the
employee only if the first meal period was not waived.”

86. Labor Code §516 provides that the Industrial Welfare Commission may adopt oy
amend working condition orders with respect to meal periods for any workers in California
consistent with the health and welfare of those workers. /

87. Section 11(A) of the IWC Wage. Order(s) provides that “Unless the employee is
relieved of all duty during a 30 minute meal period, the meal period shall be considered an “on
duty” meal period and counted as time worked. An “on duty” meal period shall be permitted
only when the nature of the work prevents an employee from being relieved of all duty and when
by written agreement between the parties an on-the-job paid meal period is agreed to, The
written agreement shall state that the employee may, in writing, revoke the agreement at any
time.” a

88. ° Section 11(B) of the IWC Wage Order(s) provides that “If an employer fails to
provide an employee a meal period in accordance with the applicable provisions of this order, the
employer shall pay the employee one (1) hour of pay at the employee’s regular rate of
compensation for each workday that he meal period is not provided.”

89, Furthermore, an employer may not undermine a formal policy of providing meal

breaks by pressuring employees to perform their duties in ways that omit breaks. The wage

orders and governing statute do not countenance an employer's exerting coercion against the

taking of, creating incentives to forego, or otherwise encouraging the skipping of legally
protected breaks. .
90. During their employment with DEFENDANT, PLAINTIFF and members of the
CLASSES consistently worked over five (5) hours per shift and therefore were entitled to a mealj
period of not less than thirty (30) minutes prior to exceeding five (5) hours of employment.
91. DEFENDANT regularly scheduled an employee alone to groom and often

92. During their employment with DEFENDANT, PLAINTIFFS and members of the

CLASS ACTION COMPLAINT - 20

 

EXHIBIT A, PAGE 29

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 23 0f 45 Page ID #:25

 

 

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‘|| California Code Regulations §§11010-11150 2 and §11160 {1; Wage order No. 9)

 

 

CLASSES were given purported meal period, however, the grooming schedule made by
DEFENDANT for its clients made it so that PLAINTIFFS and members of the CLASSES could
often not take their meal breaks on time, thus making them to take it beyond the 5" or 6" hour.
93. By failing to afford proper meal breaks to PLAINTIFF and members of the
CLASSES and in failing to properly compensate PLAINTIFF and members of the CLASSES foy
the meal periods they were not properly provided, DEFENDANT acted maliciously,
fraudulently, oppressively, and despicably, with wrongful intention causing injury and hardship
to PLAINTIFF and members of the CLASSES by reaping economic gain at PLAINTIFF and
members of the CLASSES’ expense, in willful and conscious disregard of PLAINTIFF and
members of the CLASSES’ statutory and regulatory right to lunch periods and related
compensation.
94, PLAINTIFF and members of the CLASSES had been harmed and DEFENDANT
is liable to PLAINTIFF and members of the CLASSES for one hour of additional premium pay
at the regular rate of compensation for each day in which the proper meal was not provided. The
exact amount of missed meal breaks wages owed to PLAINTIFF and members of the CLASSES
shall be proved at trial. In addition, PLAINTIFF and members of the CLASSES are entitled to
interest, penalties, attorney’s fees (“PAGA”) and costs, among other damages against
DEFENDANT.
FOURTH CAUSE OF ACTION
(FAILURE TO PROVIDE REST BREAKS)
PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS
95. PLAINTIFF and members of the CLASSES hereby refer to and incorporate
paragraphs 1 through 94, inclusive, of this Complaint by reference, as though fully set forth
herein.
96. State law requires employers to authorize paid rest periods of a specified

minimum duration of 10 minutes for every four hours an employee works. (See, eg. 4

97, At all times relevant herein PLAINTIFF and members of the CLASSES were,

CLASS ACTION COMPLAINT - 21

 

EXHIBIT A, PAGE 30

 

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 240f 45 Page ID #:26

 

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employed by DEFENDANTS in non-exempt positions.
98. | Atall times herein mentioned, PLAINTIFF and members of the CLASSES’ shifts
that were over four (4) hours therefore were entitled to a rest period of not less than ten (30)
minutes prior to exceeding four (4) hours of employment for each four (4) hours of work.
99, " DEFENDANT regularly scheduled an employee alone to groom and ofter|
scheduled too many dogs in violation of its own policy.
100, Because of the overscheduling by DEFENDANT, PLAINTIFFS and members of
the CLASSES were often not allowed to take any rest breaks as a practical matter for every four
hours of work,
101. At ali relevant times, DEFENDANT was aware of and was under a duty to
comply with California Labor Code and the applicable Wage Orders.
102. As such, by requiring PLAINTIFFS and members of the CLASSES to work four
(4) or more hours without authorizing or permitting a ten (10) minute rest period per each four
(4) hour period worked, DEFENDANT denied and ignored its duty to provide PLAINTIFF and
members of the CLASSES proper rest periods.
103. Anemployer who fails to provide rest periods as required by an applicable Wage
Order must pay the employee one additional hour of pay at the employee's regular rate of pay for
each work day that a rest period was not provided.
104. By failing to consistently provide PLAINT IFF and members of the CLASSES
with ten minute rest period, communicate the authorization and permission to take rest periods,
permit to take rest breaks, and provide PLAINTIFF and members of the CLASSES one hour’s
pay at their respective rate per day for each missed rest period, DEFENDANT acted maliciously,
fraudulently, oppressively, and despicably, with wrongful intention causing injury and hardship
to PLAINTIFF and members of the CLASSES by reaping economic gain at PLAINTIFF and
members of the CLASSES’ expense, in willful and conscious disregard of PLAINTIFF and
members of the CLASSES’ statutory and regulatory right to rest period.
105, PLAINTIFF and members of the CLASSES have been harmed and
DEFENDANT is liable to PLAINTIFF and members of the CLASSES for one (1) hour of

CLASS ACTION COMPLAINT - 22

 

 

EXHIBIT A, PAGE 31

 

 

 
 

Case 2:17-Cv-00379-SVW-JC Document 1-1 Filed 01/17/17. Page 25 of 45 Page ID #27

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‘|| members of the CLASSES suffered injury and damage.

additional premium pay at the regular rate of compensation for each day in which the proper rest
period was not provided. The exact amount of missed rest break wages owed to PLAINTIFF and
members of the CLASSES shall be proved at trial.

106. In addition, PLAINTIFF and members of the CLASSES are entitled to interest,
penalties, attorney’s fees (“PAGA”) and costs against DEFENDANTS.

FIFTH CAUSE OF ACTION
(FAILURE TO PAY OWED MONEY EARNED AND VACATION)
PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS
107. PLAINTIFF and members of the CLASSES hereby refer to and incorporate

 

paragraphs | through 106, inclusive, of this Complaint by reference, as though fully set forth
herein.
108, Under California Law, all wages eared by employees must be paid by theiy
employers.
109, Labor Code § 204 (b)(1) all wages earned for labor in excess of the normal work
period shall be paid no later than the payday for the next regular payroll period.
110. Labor Code §215 provides that a violation of the provision of person, or the
agent, manager, superintendent or officer Labor Code § 204 is guilty of misdemeanor.
111. Atal relevant times, PLAINTIFF and members of the CLASSES were employed
by DEFENDANTS in non-exempt positions.
112. Atrelevant times material hereto, PLAINTIFF and members of the CLASSES are
entitled to two weeks of vacation time per year.
113. DEFENDANT only paid PLAINTIFF and members of the CLASSES a portion of
the week vacation that were unused in 2015 and failed provide PLAINTIFF and members of the
CLASSES their accrued unused vacation time for 2016.
114. PLAINTIFF requested from DEFENDANT the value of this unused leave but
DEFENDANT failed to pay.
115. Asa result of DEFENDANTS’ abovementioned unlawful act, PLAINTIFF and

CLASS ACTION COMPLAINT ~ 23

 

 

 

EXHIBIFA, PAGE 32

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 26o0f 45 Page ID#:28

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| members of the CLASSES suffered injury and damage.

 

116. PLAINTIFF and members of the CLASSES is therefore entitled to recover thes¢
unpaid earnings from DEFENDANT with interest on all due and unpaid wages at the rate
specified in Civil Code § 3289 (b) which shall accrue from the date that the wages were due and

payable.
| SIXTH CAUSE OF ACTION
(FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
[LABOR CODE §226))

PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS

117. PLAINTIFF and members of the CLASSES hereby refer to and incorporate
paragraphs 1 through 116, inclusive, of this Complaint by reference, as though fully set forth
herein.
118. Labor Code §226(a) require employers to provide accurate itemized wage
statements for each wage payment. Labor Code §226 (e) provides for a recovery of the greater of
all actual damages or fifty dollars ($50) for the initial pay period in which a violation occurs and
one hundred dollars ($100) for each violation in a subsequent pay period, not exceeding an
agpregate penalty of four thousand dollars ($4,000) (per employee).
119, Atall relevant times, PLAINTIFF and members of the CLASSES were employed

by DEFENDANT in non-exempt positions.
120. At relevant times material hereto, DEFENDANT was aware of, and was under a

duty to comply with this law and other relevant laws.
121. At relevant times material hereto, DEFENDANT failed to provide timely,
accurate itemized wage statements to PLAINTIFF and members of the CLASSES in accordance
with California Labor Code. The statements provided by DEFENDANT did not accurately
reflect actual gross wage earned, net wages earned, and/or the appropriate deductions to account
for all proper regular and overtime pay and breaks missed. In failing to do so, DEFENDANT
also did not comply with the provision set forth above,

122. As a result of DEFENDANT’s abovementioned unlawful act, PLAINTIFF and

CLASS ACTION COMPLAINT - 24

 

 

EXHIBIT A, PAGE 33

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 27 of 45 Page ID #:29

 

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:]) for all proper regufar and overtime pay and breaks missed. In failing to do sc, DEFENDANTS

 

 

123. PLAINTIFF and members of the CLASSES is therefore entitled to recover from
DEFENDANT a §226(e) penalty not exceeding four thousand dollars each.

124, PLAINTIFF and members of the CLASSES are entitled to injunctive relief to
ensure compliance with the abovementioned Labor Code provision and seek to recover actual
damages and/or penalties as applicable by law to be proved at trial, plus interest, and attorney's
fees and costs, among other damages against DEFENDANT.

SEVENTH CAUSE OF ACTION.
(FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
[LABOR CODE §226.3})
PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS

125, PLAINTIFF and members of the CLASSES hereby refer to and incorporate
paragraphs | through 124, inclusive, of this Complaint by reference, as though fully set forth
herein.

126. The failure to provide itemized wage statements is in violation of Labor Code
§226.3 which provides in relevant part that any employer who violates subdivision (a) of §226
shall be subject to a civil penalty in the amount of two hundred fifty dollars ($250) per employee
per violation in an initial citation and one thousand dollars ($1,000) per employee for each
violation in a subsequent citation for which the employer fails to provide the employee a wage
deduction statement or fails to keep the record required in subdivision (a) of Section 226..

127. Atall relevant times, PLAINTIFF and members of the CLASSES were employed
by DEFENDANT in non-exempt positions.

128. At relevant times material hereto, DEFENDANT was aware of, and was under a
duty to comply with this law and other relevant laws,

129. At relevant times material hereto, DEFENDANTS failed to provide timely,
accurate itemized wage statements to PLAINTIFF and members of the CLASSES in accordance
with California Labor Code. The statements provided by DEFENDANTS did not accurately

reflect actual-gross wage earned, net wages eamed, and/or the appropriate deductions to account

CLASS ACTION COMPLAINT - 25

 

EXHIBIT A, PAGE 34

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 28 0f 45 Page ID #:30

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|| or validity thereof.”

‘|| members of the CLASSES suffered injury and damage.

-|] members of the CLASSES are entitled to such penalties plus interest as required by law, plus

 

 

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also did not comply with the provision set forth above.

130. As a result of DEFENDANT’s abovementioned unlawful act, PLAINTIFF and
members of the CLASSES suffered injury and damage.

131. PLAINTIFF and members of the CLASSES are therefore entitled to the above
described civil penalty.

132. PLAINTIFF and members of the CLASSES are entitled to injunctive relief to
ensure compliance with the abovementioned Labor Code provision and seek to recover actual
damages and/or penalties as applicable by law to be proved at trial, plus interest, and attorney’
fees and costs, among other damages against DEFENDANT.

EIGHT CAUSE OF ACTION
(UNLAWFUL WITHHOLDING OF WAGES)

PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS
133. PLAINTIFF and members of the CLASSES hereby refer to and incorporate

paragraphs 1 through 132, inclusive, of this Complaint by reference, as though fully set fortty.

herein.
134. Labor Code §216 provides that it is a misdemeanor for an employer to “willfully

teflse to pay wages due and payable after demand has been made” or “falsely den[y] the amount

135. Labor Code §225.5 provides a penalty of $100 for an initial violation and $200
for any subsequent violation of §216 plus 25% of the withheld amount.
136. Upon demand to DEFENDANT, PLAINTIFFS and members of the CLASSES

were entitled by law to receive all of their wages and their final paycheck(s) immediately]

DEFENDANT also unlawfully withheld the balance of overtime pay, and rest break wages,
Moreover, these wages were demanded thereafter.

137. As a result of DEFENDANT’s abovementioned unlawful act, PLAINTIFF and

138. As such, DEFENDANT is subject to the Labor Code §225.5, PLAINTIFF and

CLASS ACTION COMPLAINT - 26

 

EXHIBIT A, PAGE 35

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 29 0f 45 Page ID #:31 |

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restitution of all wages eamed but not paid, the exact amount of penalties will be proved at trial.
NINETH CAUSE OF ACTION
(FAILURE TO FULLY REIMBURSE WORK EXPENSES)-
PLAINTIFF Against ALL DEFENDANTS
139, PLAINTIFF and members of the CLASSES hereby refer to and incorporate
paragraphs | through 138, inclusive, of this Complaint by reference, as though fully set forth
herein. ;
140. California Labor Code §§ 2800 and 2802 provide that an employer must
reimburse employees for all necessary expenditures.
141. California Labor Code §2802(a) provides that “an employer shall indemnify hig
or her employee for all necessary expenditures or losses incurred by the employee in direct
consequence of the discharge of his or her duties, or of his or her obedience to the directions of
the employer.” This includes, “all reasonable costs.” (Labor Code §2802(c).)
142, California Labor Code §2804 states in pertinent part that “any contract on
agreement, express or implied, made by any employee to waive the benefits of this article or any
part thereof is null and void, and this article shall not deprive any employee or his personal;
representative of any right or remedy to which he is entitled under the laws of this State.”
143. During PLAINTIFF and members of the CLASSES’ employment with
DEFENDANT, PLAINTIEF and members of the CLASSES incurred necessary business-related;
expenses and costs that were not fully reimbursed by DEFENDANT including, but not limited
to, the expenses of shearing and sharpening. The amount of $150.00 provided by DEFENDANT
to its employees was at times not enough to cover their expenses to shear or sharpen and
maintain their tools. .
144, Furthermore, PLAINTIFF and members of the CLASSES were and are required
to buy from their own pocket the required supplies of their trade.
145, DEFENDANT did not reimbursed its employees for their purchases nor did they
pay its employees the excesses of shearing or sharpening their tools.

146. Asa proximate result of the aforementioned violations, PLAINTIFF and members

CLASS ACTION COMPLAINT - 27

 

EXHIBIT A, PAGE 36

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 30 of 45 Page ID #:32

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of the CLASSES have been damaged in an amount according to proof at the time of trial.

147. Pursuant to California Labor Code §2802(b), PLAINTIFF and members of the
CLASSES request that the Court award interest at the same rate as judgments in civil actions,
accruing from the date on which PLAINTIFF incurred the necessary expenditure or loss or must
at least be paid twice the minimum wage.

148. Pursuant to California Labor Code §2802(c), PLAINTIFF and members of the
CLASSES request that the Court award reasonable attorney's fees and costs incurred by them in
this action.

TENTH CAUSE OF ACTION
(FAILURE TO PAY UNIFORM MAINTENANCE)
PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS

149, PLAINT: IFF and members of the CLASSES hereby refer to and incorporate

 

paragraphs | through 148, inclusive, of this Complaint by reference, as though fully set forth
herein.

150. Under California law, if an employer requires non-exempt employees to wear 4
uniform, the employer must pay for and maintain the uniform for the employee. (Labor Codd
§2802)

151, In addition to the cost of the uniform, the employer must provide non-exempt
employees with reasonable maintenance of the uniforms. The employer can either maintain the
uniform itself, or pay the employee a weekly maintenance allowance of an hour's pay ai
minimum wage, provided that an hour's pay is a reasonable estimate of the time necessary to
maintain uniform properly.

152. Anemployer may never impose a financial burden on employees, with respect to
purchasing or maintaining clothing, which would reduce the employees’ wage rate below the
minimum wage.

153. Here, DEFENDANT provided PLAINTIFF and members of the CLASSES with
smock as uniform. However, DEFENDANT does not maintain the uniforms. PLAINTIFF and

members of the CLASSES pay for the maintenance and cleaning themselves,

CLASS ACTION COMPLAINT - 28

 

 

EXHIBIT A, PAGE 37

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 310f 45 Page ID #:33

 

 

 

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od 154. DEFENDANT failed to maintain the uniform, nor pay PLAINTIFF and members
2 \/ of the CLASSES a weekly maintenance allowance of an hour's pay at minimum wage.
3 155, Asa proximate result of the aforementioned violations of §2802, PLAINTIFF and
4 || members of the CLASSES are entitled to recovery from DEFENDANT for reimbursement of
5 jlnecessary expenditures including interests, or an hour pay extra per week.
6 156. As a proximate result of the aforementioned violations of Labor Code §2802,
7 || PLAINTIFF and members of the CLASSES have been damaged in an amount according to proof
|] at the time of Trial.
9 157, Pursuant to Labor Code §2802(b), PLAINTIFFS and members of the CLASSES
10 || request that the Court award interest at the same rate as judgments in civil actions, accruing from
11. }|the date on which each PLAINTIFFS and members of the CLASSES incurred the necessary
12 || expenditure or loss.
! 13 158, Pursuant to Labor Code §2802(c), PLAINTIFFS and members of the CLASSES
14 || request that the Court award reasonable attorney’s fees and costs incurred by them in this action.
15 ELEVENTH CAUSE OF ACTION
16 | (WAITING TIME PENALTIES)
17 PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS
18 159. PLAINTIFF and members of the CLASSES hereby refer to and incorporate
19 || paragraphs 1 through 158, inclusive, of this Complaint by reference, as though fully set forth
20 herein.
21 160. This cause of action is wholly derivative of and dependent upon the unpaid wage
22 |l claims set forth for, unpaid overtime and rest period premium wages that remained unpaid upon
23 || termination or resignation of members of the CLASSES’ employment.
24 161, Labor Code §201 provides that the “wages earned and unpaid at the time of
25 || discharge are due and payable immediately.” Similarly, Labor Code §202 states, “if an employee
_ 26 || not having a written contract for a definite period quits his or her employment, his or her wages
a shall become due and payable not later than 72 hours thereafter, unless the employee has given)
soa 2 72 hours previous notice of his or her intention to quit, in which case the employee is entitled to
carmen

 

 

CLASS ACTION COMPLAINT - 29

 

EXHIBIT A, PAGE 38

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 32 0f 45 Page ID #:34

 

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*. 1 || his or her wages at the time of quitting.”

2 162. Labor Code §203 provides that “if an employer willfully fails to pay, withou
3 || abatement or reduction, in accordance with Sections 201, 201.3, 201.5, 202, and 205.5, "|

| 4 || wages of an employee who is discharged or who quits, the wages of the employee shall continue
5 ||as a penalty from the due date thereof at the same rate until paid or until an action therefor is
6 }| commenced; but the wages shail not continue for more than 30 days.”
7 163. During the relevant time period, DEFENDANT willfully failed to pay members
8 |] of the CLASSES whe are no longer employed by DEFENDANT all earned and unpaid wages set
9 [1 forth above, including but not limited to, properly calculated overtime pay, meal and rest period
10 || premium wages, either at the time of discharge (i.¢., within 24 hours), or within seventy-two (72)
11 II hours of their leaving DEFENDANT’s employ.
12 164, DEFENDANT’s failure to pay members of the CLASSES who are no longey
13 || employed by DEFENDANT their wages earned and unpaid at the time of discharge, or within
14 |i seventy-two (72) hours of their leaving DEFENDANT’s employ, is in violation of California
15 {| Labor Code sections 201, 202, and 203.
16 165. Members of the CLASSES are entitled to recover from DEFENDANTS the
17 || statutory penalty wages for each day they were not paid, at their regular hourly rate of pay, up to
; 18 {la thirty (30) day maximum pursuant to California Labor Code sections 203, plus interest and

19 j] attorney’s fees in the amount to be proven at trial.

20 TWELFTH CAUSE OF ACTION
22 (PRIVATE ATTORNEY GENERAL ACT CLAIM - LABOR CODE §2699, ET SEQ.)
22 PLAINTIFF AND MEMBERS OF THE CLASSES against ALL DEFENDANTS

24 |/ paragraphs 1 through 165, inclusive, of this Complaint by reference, as though fully set forth

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| 23 166. PLAINTIFF and members of the CLASSES hereby refer to and incorporate
|

25 || herein,

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26° 167. Pursuant to Labor Code §2699(a) (which provides that any provision of the Labor
':}| Code that provides for a civil penalty to be assessed and collected by the Labor and Workforce

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ott: Development Agency, may, as an alternative, be recovered through a civil action brought by an

_ mnneeees CLASS ACTION COMPLAINT - 30

 

 

 

EXHIBIT A, PAGE 39

 

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Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 33 0f 45 Page ID#:35

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"4 aggrieved employee on behalf of himself or herself and other current or former employees)

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2 || PLAINTIFF seeks recovery or applicable civil penalties.

3 168. Pursuant to Labor Code §2699(e) (which provides that for all provisions of the
4 i| Labor Code except those for which a civil penalty is specifically provided, there is established a
5 i} civil penalty for a violation of these provisions), PLAINTIFF seeks recovery of the applicable

6 || civil penalties pursuant to Labor Code §§2699(e)(2) as follows:

7 a. One hundred dollars ($100.00) per pay period for the initial violation; and
8 b. Two hundred dollars ($200.00) per pay period for each subsequent violation.
9 169. Labor Code §2699.,3(a) states in pertinent part: “A civil action by an aggrieved

10 |! employee pursuant to subdivision (a) or (f) of §2699 alleging a violation of any provision listed
11 |jin §2699.5 shail commence only after the following requirements have been met: (1) The
12 || aggrieved employee or representative shall give written notice by certified mail to the Labor and
13 || Workforce Development Agency and the employer of the specific provisions of this code alleged
14 |} to have been violated, including the facts and theories to support the alleged violation.
15 170. ‘Here, PLAINTIFF and members of the CLASSES’ civil action alleges violation
16 |lof provisions listed in Labor Code §2699.5, As such, Labor Code §2699.3(a) applies to thig
17 || action, and Labor Code §26699.3(b) and §26699.3(c) do not apply to this action.
18 171. On June 28, 2016, PLAINTIFF complied with Labor Code §2699.3(a) in that
19 || PLAINTIFF, on behalf of persons similarly situated, gave written notice by certified mail to the
20 ||Labor and Workforce Development Agency (LWDA”) and DEFENDANT of the specific
21 || provisions of the labor Code alleged to have been violated, including the facts and theories to
22 || support the alleged violation.
23 172. Labor Code §2699,3(a) further states in pertinent part “(2)(A) The agency shall
24 || notify the employer and the agerieved employee or representative by certified mail that it does
25 || not intend to investigate the alleged violation within 30 calendar days of the postmark date of the
26 || notice received pursuant to paragraph (1). Upon receipt of the notice or if no notice is provided
2 within 33 calendar days of the postmark date of the notice given pursuant to paragraph (1), the

ny 28 aggrieved employee may commence a civil action pursuant to Section 2699.”

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EXHIBIT A, PAGE 40

 

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 34 of 45 Page ID #:36

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-|| humiliation to the employee(s) at DEFENDANT.

 

173. As of October 1, 2016 (more than 33 calendar days after PLAINTIFF’s LWDAI
letters were mailed via certified mail), PLAINTIFF had not received any notification that the
LWDA intended to investigate the alleged violations.

174. As such, PLAINTIFF has complied with Labor Code §2699.3(a) and has been
given authorization therefrom to commence a civil action which includes a cause of action
pursuant to Labor Code §2699.

THIRTEENTH CAUSE OF ACTION
(UNFAIR BUSINESS PRACTICES)
PLAINTIFFS AND MEMBERS OF THE CLASSES against ALL DEFENDANTS

 

175. PLAINTIFF and members of the CLASSES hereby refer to and incorporate
paragraphs 1 through 174, inclusive, of this Complaint by reference, as though fully set forth
herein. ,

176. Within all times relevant herein, DEFENDANT, in an effort to exploit its worker
for profit or otherwise, have engaged in the following unlawful, unfair, deceptive, and
misleading business practices; among others;

a. Failing to properly and timely pay properly calculated overtime of PLAINTIFF

and members of the CLASSES;

b. Failing to provide proper meal breaks and rest periods, or to pay premium wages

for missed meal and rest periods to PLAINTIFF and members of the CLASSES;

c. Employing practices which deprive PLAINTIFF and members of the CLASSES

of meal and rest breaks;

d. Failing to pay sick leave, owed money and vacation, reimbursement of all

business expenses, and for uniform maintenance; |

e, Failing to provide accurate wage statements to PLAINTIFF and members of the

" CLASSES; and
f. Failing to pay all wages earned and owed to departing employees.

177. The foregoing wrongful activities have caused harm, fear, pressure, and

CLASS ACTION COMPLAINT - 34

 

 

EXHIBIT A, PAGE 41

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 350f45 Page ID #:37 _

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- ||all the profits and gains they have reaped and restore such profits and gains to PLAINTIFF and

 

 

178. As a direct and proximate cause of DEFENDANT’s unlawful, unfair, and/or
fraudulent acts and practices described herein, DEFENDANT has received and continues to hold
ill-gotten gains belonging to PLAINTIFF and members of the CLASSES. As a direct and
proximate cause of DEFENDANT’s unlawful business practices, to PLAINTIFF and members
of the CLASSES have suffered economic injuries including, but not limited to out-of-pocket
business expenses, unlawful deductions from compensation, loss of minimum wage and
overtime wages, compensation for missed meal and rest period, and waiting time penalties,
DEFENDANT has profited from its untawful, unfair and in the amount of those busines
expenses, improper deductions from compensation, unpaid minimum wages and overtime;
unpaid compensation for missed meal and rest periods, and interests accrued by to PLAINTIFF
and members of the CLASSES.

179. Pursuant to the provisions of B&PC §17203, PLAINTIFF and members of the
CLASSES are entitled to restoration of lost wages, unpaid business expenses, unlawful
deductions, meai and rest periods and interests, DEFENDANT have collected by the use of the
unfair, deceptive, and misleading business practices described in this Complaint.

180. PLAINTIFF and members of the CLASSES are entitled to enforce all applicable
penalty provisions of the California Labor Code pursuant to B&PC §17202.

(81. PLAINTIFF’s success in this action will enforce important rights affecting the
public interest. In this regard, PLAINTIFF sues on behalf of the public as well as on behalf of
themselves and others similarly situated. PLAINTIFF seeks and is entitled to reimbursement of
business expenses, the unpaid compensation, declaratory and injunctive relief, civil penalties,
and any other appropriate remedy.

182. Pursuant to the provisions of B&PC § 17203, this Court should issue an
injunction prohibiting DEFENDANT from engaging in the foregoing unfair, deceptive, and
misleading business practices.

183. In order to prevent DEFENDANT from profiting and benefitting from their
wrongful and illegal acts and continuing those acts, an order requiring DEFENDANT to disgorge

CLASS ACTION COMPLAINT - 33

 

EXHIBIT A, PAGE 42

 

 

 
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Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 36 0f 45 Page ID #:38

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members of the CLASSES, from whom they were unlawiully taken,

184, PLAINTIFF has assumed the responsibility of enforcement of the laws and lawful
claims specified herein. There is a financial burden incurred in pursuing this action which is in
the public interest. Therefore reasonable attorney’s fees are appropriate pursuant to CCP
§1021.5.

185. Asa direct and proximate cause of the unfair business practices described above,
PLAINTIFF, members of the CLASSES, and members of the general public have all suffered
significant loses and DEFENDANT have been unjustly enriched.

186. PLAINTIFF, members of the CLASSES, and members of the general public are
entitled to: restitution of money acquired by DEFENDANT by means of their unfair business
practices, in an amounts not yet ascertained but to be ascertained at trial; (b) injunctive relief
against DEFENDANT’s continuation of their unfair business practices; and (c) declaration that
DEFENDANT’s business practices are unfair within the meaning to the statute.

VIL PRAYER FOR RELIEF

WHEREFORE, Plaintiff LEA M. SMADJA, and members of the CLASSES pray fou

judgment against Defendant PETSMART, INC. and Does | through 50, inclusive, as follows:

 

1, That the Court issue an Order certifying the Classes herein, appointing all named
PLAINTIFFS as representative of all others similarly situated, and appointing all
law firms representing all named PLAINTIFFS as counsel for the members of the

Classes;

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An award of general, compensatory and liquidated damages mm an amount to be

determined at trial;

3. Wages constituting overtime time pay, meal and rest breaks wages, owed money
earned and vacation, unpaid business expenses including interest and penalties, to
the extent provided by law, including all applicable Labor Code penaities;

4, Waiting time penalties;

5, All applicable labor code penalties and additional wages, including but not limited

to those provided for under California Lebor Code §§225.5, 226, 226.3, 2644 et

CLASS ACTION COMPLAINT - 34]

 

 

EXHIBIT A, PAGE 43

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 37 of 45 Page ID #:39

 

 

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6.  Injunctive relief prohibiting DEFENDANT from engaging in the unfair,
deceptive, and misleading business practices described herein (Unfair
Competition);

7. Restoration of all money gained by DEFENDANT and all money lost by
PLAINTIFF by DEFENDANT wrongly using the unfair, deceptive, and
misleading business practices described in this Complaint (Unfair Competition);

8. Reasonable attorneys’ fees;

5, Prejudgment interest;

10. All costs of suit herein incurred; and

11. Such other and further relief as the court may deem proper.

Dated this 28" day of November 2016 BITTON & ASSOCIATES

 

p ow,
eys for Plaintiff LEA M. SMADJA
nip others similarly situated

CLASS ACTION COMPLAINT - ‘ 35

 

EXHIBIT A, PAGE 44

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 38 0f 45 Page ID #:40

 

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u DEMAND FOR JURY TRIAL a
2 _ PLAINTIFF hereby demand a trial of their claims by jury to the extent authorized by law.
3 |} Dated this 28" day of November 2016 BITTON & ASSOCIATES

   
 

‘Attorneys for Plaintiff LEA M: SMADJA
and all others similarly situated

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CLASS ACTION COMPLAINT ~ 36

 

 

 

 

EXHIBIT A, PAGE 45

 

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 390f45 Page ID #:41

 

 

 

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BITTON & ASSOCIATES

* | 7220 Melrose Avenue, 2nd Floor
Los Angeles, CA ‘A 90046

 

Su wore tl BD Callfamia
tetepHone no: 310-356-1006 raxnox 818-524-1224
arroRsey FoR waner: Plaintiff, Lea M. Smadja cunty a Angeles
[SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles-Central District NOV 2 92
sinecraooress: 11] North Hill Street 29 2016

maune aporess; 111 North Hill

gaanavenness: HTT North Hi 90012 . Sherr] A. Carter, od Officar/Clark
BRANCH Name: Stanley osk Courthouse Py Cristina Grijatta oeeuty

 

 

 

CASE NAME:
Lea M. Smadja et al. v. Petsmart, Inc. _
CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER:
Armunt Cc (Arnoont ; CI Counter [_] Joinder
demanded demanded Is Filed with first appearance by defendant “RC 6 4 2 0 § 5
exceeds $25,000) $25,000 or less} (Caf. Rules of Court, rute 3.402) ’

 

 

 

items 1-6 below must be completed (see instructions on page 2).
4. Check one box below for the case type that best describes this case: ‘
Auto Tort Contract Provisionally Gompiex Civil Lilgation

 

 

 

Auto (22) [77] Breach of contractwvarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
(J Uninsured motorist (46) EJ Rule 3.740 collections (09) [-} Antitrust(Trade regulation (63)
“Other PUPDAWD (Personal njuryiProperty [Other collections (09) [_] construction defect (10)
DamageMWrongfui Death) Tort LC} Insurance coverage (18) [] Mass tort (40)

Asbestos (04) Other contract (37) LJ Securities litigation (28)

Product lability (24) Real Property [_] envronmentat'Toxic tot (30)

Medicat malpractice (45) {__] Eminent domainfnverse CO Insurance coverage claims arising fram the
L_] other PYPDAWD (23) condemnation (14) above listed provisionally complex case
Hon-PUPDIWD (Other) Tort [1 Wrongful eviction (33) types (41)

Business tortuntair business practice (07) (—] ther reat property (26) Enforcement of Jucigment
C] Civil rights (08} Unlawful Detalner CI Enforcement of lidgment (20}
{__} Defamation (43) [_] Commerctat (31) Miscellaneous Clvil Complaint
L_] Fraud 18) [] Residential (22) [_] rico ¢27
[__] intettectual property (19) (7 F ongs 28) [1] other complaint (not specified above) (42)
L__] Professional negligence (25) dadiclat Review Miscellaneous Civil Petition

Other non-PHPDIWD tort (35) [_} Asset forfeiture (06) Partnership and corporate governance (21)
Employment (J Petition re: arbitration award (11) F_] otter petition (not specified above) (43)
an Wrongful temination (36) ("] writ of mandate (02)
Other employmant (15} [_]_ Other judictat review £39)

 

2. Thisease [¥Jis (_] isnot comptex under rule 3.400 of the Califomia Rutes of Court. If the case Is complex, mark the
factors requiring excaptiona! judicial management:

a.L_] carge number of separately represented parties CL Large number of witnesses

b.L__] Extensive motion practice raising difficult or novel —e. [“"] coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court

c. LY} Substantial amount of documentary evidence b Cc] Substantiat postjudgment judicial supervision

Remedies sought (check all that apply): a7] monetary 6.[¥] nonmonetary; declaratory or injunctive relief —_c. [__] punitive
Number of causes of action (specity): 13- Failure to Pay Proper Overtime,Failure to Provide Meal and Rest Breaks
Thisease [¥Tis [_Jisnot a class action sult,

If there are any known related cases, file and setve a notice of related case. (Youmay u:

Date: November 28, 2016
Ophir J. Bitton

Din bw

 
 

(TYPE OR PRINT NAME)

NOTICE
+e Plaintiff must file this cover sheet with the first paper filed in the action pf proceeding (except smail claims cases or cases filed
r under the Probate Code, Family Code, or Welfare and Institutions Cogé). (Cal. Rules of Court, rule 3.220.) Failure to fite may result
** in sanctions.
Ag File this cover sheet in addition to any cover sheet required by local court rufe.
® ff this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
t-- other parties to the action or proceeding.

& Unless this is a collections case under rufe 3.740 or a complex case, this cover sheet will be used for statistical purposes only. set

 

 

Adopted tor Moandat Cal. Rules of Court, nas 2.50, 3,220, 3,400-3.403, 3.740,
Fam Ao ounces Catia CIVIL CASE COVER SHEET Cal Sisndaa Standande of Judiclel Administration. sid, 3.40
CA-O10 (Rav, July 4, 20073 , sewiy.couTENID.62. gov

EXHIBIT A, PAGE 46

 

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 40 of 45 Page ID #:42

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_“ Lea M. Smadja et al. v. Petsmart ine. . : | “DZ BC & 2 Q 8 5 - :

 

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CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION: . -
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form Is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 

 

 

Item 4. Check the types of hearing and fill in the estimated length of hearing expected for this case:
JURY TRIAL? YES GLASS ACTION? 4 yes timmencase? Clyes time EStiMATED FoR TRIAL 7-10_C) Hours) @) oays

Item IJ. Indicate the correct district and courthouse location (4.steps - If you checked “Limited Case", skip to Itém tl, Pg. 4):

- Step 1: After first completing the Civil Case Cover Sheet form, find the mairi Civil Case Cover Shest heading for your
_ case in the ‘left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

_ Step 3: tn Column C, circle the reason for the court location choice that applies to the type of action you have
" checked. For any exception to the court location, see Local Rule 2.0,

 

 

 

Applicable Reasons for Choosing Courthouse Location (see Column C below) |

1. Class actions must be filed in the Stanley Mosk Courthouse, centrat district. 6. Location of property or permanently garaged vehicie.

2. May be filed in central (other county, or no bodily injury/property damage). 7. Location where petitioner resides.

3, Location where cause of action arose, : 8. Location wherein defendantrespondent functions wholly.
4. Location where bodily injury, dealh-or damage occurred, —- 9, Location where one or more of the parties taside, ©

5. Location whee performance raquired or defandant resides. ' 1, Location of Labor Commissioner Office .

: Step 4: Fill in the information requested on page 4 in Item Il!; complete ftem IV. Sign the deciaration.

  
     

 

 

 

 

 

 

 

 

 

 

 

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0 ¥ . Auto (22} O A71G0 Motor Vehicle - Personal injury/Property Dantage/Wrongful Death.

= . : - t

<r Uninsured Motorist (46)  A7110 Personal injury/Property Damage/Wrangful Death — Uninsured Motorist 1,24. . ,
. 0 : O A6070 Asbestos Properly Damage be . 2. .

; Asbestos 04)

Pe . C1) A7221 Asbestos - Personal InjuryWrongful Death . “72.

Ses .
-s = Product Lisbility (24)  AT260. Product Liability (not asbestos or toxicfenvirenmental) 1.2.3. 4..6. |

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~ & i

ea. CO A210 Madical Matpraclice- Physicians & Surgeons - ytd.

= =f Medical Mafpractica (46) / ‘

“Se o . . © A7r240 Other Professional Health Care Matpractice” 44, |

‘e2 :

12 .

‘ge (1 A7250 Premises Liability (e.9., slip and fall day
re 2 Personal tary C1 A230 intentional Bodily injury/Property Damage/Wrongful Death (e.9., 1.4
re s & Property Damage assauill, vandalism, ete.) a
Ni won 11 A7270 intentional infiction of Emational Distress 148 a
we . f A7220. Other Personal Injury/Property DamagefWrongful Death jis4. , ;
K * '

. <3 , * . Se

VACIV 109 (Rev. 03/14) CIVIL CASE COVER SHEET ADDENDUM Local Rute 2.0 :

tase Approved 03-04 , - AND STATEMENT OF LOCATION * Page 1 of 4

EXHIBIT A, PAGE 47

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 41 0f 45 Page ID #:43
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SHORT TITLE: . CASE NUMBER
Lea M. Smadia et al, v. Petsmart Inc,
i _ . ' . ”
: A. an 3 B . - iC
Civil Case Cover Sheat- . ., , _ Type of Action ___ | Applicable Reasons -
f CalegoryNo. |. - 0%, te (Check only one) ; See Step 3 Above
Business Tort (07) C) A029 Other Commercial/Business Tort (not fraud/breach of contract} 1,3.
Ps
at Cuil Rights (08) CO AGGO5 Civil Rights/Discrimination 1.243
o
a8
3a Defamation (13) O A8010 Defamation {slandarfibe!) t.,2.,3.
2a :
=e Fraud (16) OQ A6013 Fraud (no contract) 1.2.
g i
o>
2 SB | (1 A6017 Legal Malpractice 1.2.3,
ae ® Professional Negligence (25) ;
Ze O AGOS0 Other Professional Malpractice (not medical or legal) 1.,2.,3.
og
za
Other (35) {1 A6025 Other Non-Personal [njuryProperty Damage tort 2,3.
a a  }
§ Wrongful Termination (36) | 0) A637 Wrongful Termination 1.,2.,3.
=
2 i AGO24 Other Employment Complaint Case ()2., 3.
2 Other Employment (15)
& C AG109 Labor Commissioner Appeals 10.
eee sy
(] A6004 Sreach of Rental/Lease Contract (net unlawful detainer or wrongful
eviction} 2.5.
c
Breach of “ C1 AB008 ContractWarranty Breach -Selter Plaintiff (no fraudMnegtigence) 2.,5.
{not insurance) CQ A6019 Negligent Greach of ContractWarranty (no fraud) 1.2.6,
1 AG026 Other Breach of Contract/Warranty (not fraud or negligence) 14.25
E O A6002 Collections Case-Seller Plaintiff . 2,, 6,6.
= Collections (08}
8 (1 A602 Other Promissory Note/Gollectiens Case 2., 5.
Insurance Coverage (18) O A6015 Insurance Coverage {not complex) 4.,2.,5,, 5.
O A6009 Contractual Fraud 1,235.
Other Contract {37) 1 AG031 Torligus Interference 1.,2.,3,, 5.
O A6027 Other Contract Disputa(not breach/insurance/raud/negligence} 1,23. 8
nm nn
Eminent Domain/inverse :
Condemnation (14) 0 A?300 Eminent Domain/Condamnation Number of parcels. 2.
ge Wrongful Eviction (33) C1 AG023 Wrongful Eviction Case . 2,6,
£
a G2 A018 Mortgage Foreclosure 2.6.
ae Other Reat Property (26) O AG032 Quiet Tele
O ASG60 Other Real Property (not eminent domain, [andlord/tenant, foreclosure) | 2., 6.
cn
_ UntawHut Commerc CQ A6021 Unlawful Detainer-Commercial {not drugs er wrongful eviction) 2,, 6,
a
&
3 Untawful oo [] A6020 Uniawful Detalner-Residential (not drugs or wrongful eviction} 2,, 6.
ho
‘ Unlawful Datalner-
. 3 Post-Foraclosure (34) 1] As020F Unlawful Datainer-Post-Foreciosure 2,6.
3
us Unlawful Detainer-Drugs (38) $0 AG022 Unlawful Detalner-Drugs 2,6,
vs Derr Ps eS i Sehr ewes ii SESS
b. nn
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LACIV 109 (Rev. 05/11) CIVIL CASE COVER SHEET ADDENDUM ’ Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 2 of 4

EXHIBIT A, PAGE 48

 

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 42 of 45 Page ID #:44

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT TITLE: . CASE NUMBER
Lea M. Smadja et al. v. Petsmart Inc.
i A. oo, i : B , . Cc. .
Clvi Case Cover Sheet - og 7° TypeofAction — Applicable Reasons = |
Category No, . 2 ORs (Chack onlycne} |. Sea Step 3 Above
Asset Forfeiture {05} O A&108 Asset Forfeiture Case 2.,6.
= Patifion re Arbifrafion (11) | 1 AG115 Petition io Compel/Confimm/Vacate Arbitration 2.,5.
&
oe © A151 Writ- Administrave Mandamus 2.8.
w :
3 Writ of Mandate (02} (1) A6152 Writ- Mandamus on Limited Court Case Matter
5 © A153. Whit - Other Limited Court Case Review
Other Judicial Review (39) | 0 AG150 Other Writ /Judiclal Review 2,8.
aserrerrrrrreremmmshiiisAi PPS
5 Aniltrust/Trade Regulation (03) | £1 A6G03 Antifrust'Trade Regulation 1.,2., 8.
B
= Construction Defact (10) O AG007 Consiruction Defect 14.2.4
=
4 .
= Clalms involving Mass Tort C1 A6006 Ctalms Involving Mass Tort t.,2., 8
E
a
g Sacurifies Litigation (28) Cl A6035 Securities Litigation Case 4.,2.,8
a
s Toxic Fort : . .
Ss
3 Environmental (30) {1 AG6036 Toxic Tor/Envirenmental 1.2.5.8.
~
2 Co a Claims .
a em alex Case a C1 A014 insurance Coverage/Subrogation (complex case only} 1.,2.,5., 8,
Q A6141 Sister State Judgment 2,9.
5 e O AGt60 Abstract of Judgment 2.,64
5 5 Enforcement 0 A8107 Confession of Judgment (non-domestic relations) 2. 9.
53 of Judgment (20) 0 ASt40 Administrative Agency Award (not unpaid taxes) 2,4,
ui S Cl AG114 Petition/Certificate for Entry of Judgment on Unpaid Tax 2.,8,
O A6112 Other Enforcement of Axtgment Case . 2.,4,9.
ee
2 RIGO (27) O AG033 Racketsering (RICO) Case 1,2. 8.
4
2 £
s 2 {1 A6030 Dectaratory Retief Only 1.2.8.
a
3 8 Other Complaints Cl A6040 injunctive Relief Only (not domaslicharassment} 2.8.
2% (Not Specified Above) (42) Fm agoit Other Commercial Complaint Case (non-tortinon-complex) 4.2.8.
° 1 A600 Other Civil Complaint {non-tort/nan-complex} 1,2.,8.
bene ae
Parnership Comoratton
Govemance (21) OG A6113 Partnership and Corporate Governance Case 2.,8.
© 0 AG121 Civi Harassment 2, 4., 9.
wn
3 s £1 AG123 Workplace Harassment 2.39,
a4
id ey Dag De
2 & Other Petitions EF A6124 Elder/Dependent Adult Abuse Cuse 2.,,3.,.9.
B = {Nat ea) Above) G1 A6190 Election Contest 2,
= ° OC A6110 Peiltlon for Change of Name 2.0) °
RE 1 A6170 Petttion for Relief from Late Claim Law 2.,3..4.,3,
he 1) AG100 Other Civil Petition 2,9.
Qt
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ec
LAGIV 109 (Rev, 02/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 02-04 AND STATEMENT OF LOCATION Page 3 of 4

EXHIBIT

A, PAGE 49

 

 

 
Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 43 0f 45 Page ID#:45

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SHORT TITLE: . CASE NUMBER
Lea M, Smadja et al, v. Petsmart inc.

 

 

 

 

[tem Ul. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance Indicated in Item #., Step 3 on Page 1, as the proper reason for filing in the court location you selected,

 

ADDRESS:

REASON: Check the appropriate boxes for the numbers shown | 4550 West Pico Goulevard
undes Column C for the type of action that you have selected for
this case.

 

i. O2. 03. 04, 08, 06. 07.08. 09.010.

 

 

cir: : STATE: ZiP CODE:
Los Angeles CA 90019

 

 

 

 

 

item iV. Declaration of Assignment: | declare under penally of perjury under the faws of the State of California that the foregoing is true
and correct and that the above-entitled matier is properly filed for assignment to the Stanley Mosk courthouse in the
Central District of the Superior Court of California, County of Los Angeles [Code Civ, Proc., § 392 el seq., and Local
Rute 2.0, subds. (b}, {c} and (d)].

   

Dated: Noverber 28,2016

 

ATURE OF aT ATG PARTY}

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

 

4. Original Complaint or Petition.

2, {f filing a Complaint, a completed Summons form for issuance by the Clerk.
3. Civil Case Cover Sheet, Judicial Council form CM-010.
4

. Cul a Cover Sheet Addendum and Statement of Location form, LACIV 108, LASC Approved 03-04 (Rev.

Payment in full of the filing fee, unless fees have been walved.

a

6. Asigned order appointing the Guardian ad Litem, Judicial Council form ClV-01G, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons,

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

 

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LAGIV 109 (Rev. 02/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 of 4

EXHIBIT A, PAGE 50

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1

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ATIORNEY OR PARTY WITHOUT ATTORNEY (vame, Siete, Bar number, and address): FOR COURT USE ONLY
BITTON & ASSOCIATES :
7220 Malroue Avenue, 2nd Floor OC . F LED
Los Angetes, CA 90046 rior Court of California
TELEPHONE NO. 818-524-1223 FAXNO.(Optone): Supe tinty of Los Angeles
EMAIL ADDRESS (Cptonnl):
ATTORNEY FOR (Numa): LEAH. SMADJA . . DEC 1 9 2016
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES :
STREETADDRESS: 414 North Hil Straat Sherri F. Carter, Exepptive flicer/Clerk
MAILING ADDRESS: By Deputy
CITY AND ZIP CODE: Los Angales #0042 Veronica Hitiard
BRANCH NAME: Contra! District, Stanley Mosk Courthouse
PLAINTIFF/PETITIONER: LEA M. SMADJA . CASE NUMBER;
DEFENDANT/RESPONDENT: PETSMART, ING, A DELAWARE CORPORATION gc642085 | () 407
Rai, No. of File No:
PROOF OF SERVICE OF SUMMONS . LEA SMADJA v PETSMART INC

 

 

 

 

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1. At the time of service I was at least 18 years of age and not a party to this action.

2. served copies of (specify documents}:
SUMMONS; COMPLAINT; CIVIL CASE COVER SHEET; CIVIL GASE COVER SHEET ADDENDUM AND STATEMENT OF
LOCATION; NOTICE OF CASE ASSIGNMENT; VOLUNTARY EFFICIENT LITIGATION STIPULATIONS; STIPULATION -
EARLY ORGANIZATIONAL MEETING (BLANK); STIPULATION - DISCOVERY RESOLUTION (BLANK); INFORMAL
DISCOVERY CONFERENCE (BLANK); STIPULATION AND ORDER - MOTIONS IN LIMINE

3. a. Party served (specify name of party as shown on documents served):
PETSMART, INC, A DELAWARE CORPORATION

XW AG

b. [X] Person (other than the party in item 3a) served of behalf of an entity or as an authorized agent (and not a person under
item 5b whom substituted service was made} (specify name and relationship fo the party named in tem 3a }:
Gladys Aguilera, PROCESS SPECIALIST, PERSON AUTHORIZED TO ACCEPT, who accepted service, with
identity confirmed by verbal communication, an Hispanic female approx. 25-35 years of age, 5°6"-8'8" tall,
weighing 120-140 Ibs with brown hair,

4. Address where the party was served:
C T CORPORATION SYSTEM, 818 W 7TH ST, STE 930, LOS ANGELES, CA 90017

§. | served the party (check proper box)

a. i] by personal service. | personally delivered the dacuments listed in item 2 to the party or person authorized to recelve
service of process for the party (1) on (date): 12/15/2016 at (time): 2:00 PM

b. [] by substituted service. On (date): at (time): Heft the documents listed In tem 2 with
or in the presence of (name and title or relationship fo person indicated in iter 3):

(1) CL] (business) a parson at least 18 years of age apparently in charge at the office or usual place of business of
tha person to be served. ! informed him or her of the general nature of the papers.

(2) Cc] (home) a competent member of tha household {at least 18 years of age) at the dwelling house or usual place
of abode of the party. | informed him or her of the general nature of the papers.

(3) [7] (physica! address unknown) a person at least 18 years of age apparantly in charge at the usual mailing
address of the person to be served, other than a United States Postal Service post office box. ! informed him
or har of the general nature of the papers.

(4) [_] | thereafter caused to be mailed (by first class, postage prepaid) copies of the documents to the person to be
served at the place where the coptes were left (Cade Civ. Proc § 415,20). Documents were mailed

 

on (date): from (city): or{___] a declaration of mailing is attached.
(5) (] | attach a dectaration of ditigence stating actions taken first to attempt personal service.
Page 1 of 2
Form Adopted tor Mandatory Use Code of Cha Procedure, § 417.10
Oto fRev.damry 420071 PROOF OF SERVICE OF SUMMONS Tracking #: 0044677095

 

 

 

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EXHIBIT A, PAGE 51

 

Filed 01/17/17 Page 44 0f 45 Page ID #:46

 

 
 

Case 2:17-cv-00379-SVW-JC Document 1-1 Filed 01/17/17 Page 450f45 Page ID#:47

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PLAINTIFF/PETITIONER: LEA M, SMADJA tas ae soy + t+» (GASENUMBER: |

DEFENDANT/RESPONDENT: . PETSMART, INC, A DELAWARE CORPORATION

 

 

 

 

 

- BC642085

 

c. C_] by mail and acknowledgement of receipt of service. | mailed the documents listed in item 2 to the party, to the
address shown in item 4, by first-class mail, postage prepaid,

(1) on (date): (2) from (city):

- (3) | with twa copies of the Notice and Acknowledgement of Raceipt and a postage-paid retum envelope
addressed to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30)

(4) [1 to an address outside Califomia with retum receipt requested. (Code Civ. Proc., § 415.40)
d. CT] by other moans (specify means of service and authorizing code section}:
[3 Additional page describing service Is attached.

6. The “Notice to the Person Served” {on the summons) was completed as follows:

a. [__] as an individuai defendant.

b. [(_} as the person sued under the fictitious name of (specify):

c. [__] as occupant.

d. (3X7 On behalf of (specify) PETSMART, INC, A DELAWARE CORPORATION

under the following Code of Civil Procedure section:

 

 

 

 

 

[CX] 416.10 (corporation) 416.95 (business organization, form unknown)
[7] 416.20 (defunct corporation) [7] 416.60 (minors)
CI 416.30 (joint stock company/association) — [__} 416.70 (ward or conservatee)
((] 416.40 {association or partnership) 416.90 (authorized person)
[7] 416.50 (public entity) {~] 415.46 (occupant)
. L] other:
7. Person who served papers
a. Name: Mario Lopez
b. Address: 316 W 2nd St, 3rd Ficor, Los Angeles, CA $0012
ct. Telephone number: = 213-621-9999
d. The fee for service was: $ 59.50
e. lam:
(1) [--] nota registered California process server. 2
(2} [__] exempt from registration under Business and Professions Cade section 22350(b). z
(3) [XZ] registered Cailforna process server:
0} Cl owner CJ employee Cx] independent contractor. For: ABC Legal Services, Inc.
(i) (XG Registration No.: 5686 Registration #6779
iii} [XC] County: Los Angeles County: Los Angeles
8. Cx] declare under penalty of perjury under the laws of the State of California that the foregoing Is true and correct.
or ;
9. Cl lam a California sheriff or marshal and ! certify that the foregoing Is true and coreg.
12/47/16
Date: .
Mario Lopez .
“tr {NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL} . (SIGNATURE)
a -
Q POS-010 pRov. January 1, 2007) \ Page 2612
cy in PROOF OF SERVICE OF SUMMONS , Tracking #: 6014677095
oir tes sos veerouanr CA
cf
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a EXHIBIT A, PAGE 52

 

 
